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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS



ROADGET BUSINESS PTE. LTD., a private                CASE NO. 1:22-cv-07119
limited company organized in the country of
Singapore,                                           Judge: Hon. Franklin U. Valderrama

        Plaintiff,                                   Magistrate Judge: Hon. Jeffrey Cummings

v.

PDD HOLDINGS INC., a Cayman Islands                  JURY TRIAL DEMANDED
corporation, and WHALECO, INC., a Delaware
corporation,



        Defendants.
                               FIRST AMENDED COMPLAINT

       Plaintiff Roadget Business Pte. Ltd. (“Roadget” or “Plaintiff”), by and through its

attorneys, brings this action to enjoin and seek other relief for the unlawful and infringing conduct

of Defendants PDD Holdings Inc. and WhaleCo, Inc. (collectively “Defendants” or “Temu”).

Temu has willfully and flagrantly infringed Roadget’s exclusive and valuable trademark rights and

copyright rights and has engaged in unfair competition and false and deceptive business practices,

including by impersonating Roadget’s well-known SHEIN brand on social media, trading off of

the well-known SHEIN trademarks, and using copyrighted images owned by Roadget as part of

Temu’s product listings. Temu has used the SHEIN trademarks, and the goodwill associated with

that brand, to unlawfully promote Temu’s products and services, including its new online retail

store, and to trick consumers into downloading Temu’s mobile application. Roadget seeks

injunctive relief and all other remedies available under the laws of the United States and the State

of Illinois. Based on its knowledge of Temu’s actions and upon information and belief as to other

conduct, Roadget alleges as follows:




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                                     NATURE OF ACTION

       1.      This is an action for (i) trademark counterfeiting in violation of the Trademark Act

of 1946, 15 U.S.C. § 1114; (ii) trademark infringement in violation of the Trademark Act of 1946,

15 U.S.C. § 1114; (iii) the use of false designations of origin and unfair competition in violation

of the Trademark Act of 1946, 15 U.S.C. § 1125(a); (iv) the use of false and misleading

descriptions and representations in violation of the Trademark Act of 1946, 15 U.S.C. § 1125(a);

(v) contributory false advertising in violation of Trademark Act of 1946, 15. U.S.C. § 1125(a); (vi)

copyright infringement under 17 U.S.C. § 101 et seq.; (vii) trademark dilution in violation of the

Trademark Act of 1946, 15 U.S.C. § 1125(c); (viii) trademark dilution under the Illinois

Trademark Registration and Protection Act, formerly the Anti-Dilution Act, 765 ILCS 1036/65;

(ix) deceptive trade practices in violation of the Illinois Uniform Deceptive Trade Practices Act,

815 ILCS 510/1 et seq.; (x) deceptive trade practices in violation of the Illinois Consumer Fraud

and Deceptive Business Practices Act, 815 ILCS 505/1 et seq.; (xi) unfair competition in violation

of Illinois common law; (xii) product disparagement and trade libel under Illinois common law;

and (xiii) unjust enrichment.

                                         THE PARTIES
       2.      Plaintiff Roadget Business Pte. Ltd. is a private limited company organized under

the laws of the country of Singapore. Roadget is the owner of the famous SHEIN trademarks in

the United States (and worldwide) and owns the website located at https://us.shein.com and the

corresponding mobile application.

       3.      Defendant PDD Holdings Inc. (“PDD”) is a Cayman Islands corporation, with a

principal place of business at 28/F, No. 533 Loushanguan Road, Changning District, Shanghai,

People's Republic of China and is a publicly traded company listed on the NASDAQ exchange as

“PDD”. PDD previously operated as Pinduoduo Inc. until it changed its name on or around

February 8, 2023. On information and belief, PDD directly operates an e-commerce platform in

China under the “Pinduoduo” brand.




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       4.      Defendant WhaleCo, Inc. (“WhaleCo”) is a Delaware corporation with a principal

place of business at 31 St. James Avenue, Boston, Massachusetts 02116. On information and

belief, WhaleCo operates an online retail store in the United States under the TEMU brand at

https://www.temu.com (the “Temu Website”). On information and belief, while PDD holds out

Pinduoduo and TEMU as “sister companies,” PDD is in fact heavily involved with the operations

of WhaleCo and the marketing for the TEMU brand, including by engaging influencers for

influencer marketing.

                                 JURISDICTION AND VENUE
       5.      This Court has subject matter jurisdiction over this Complaint pursuant to 28 U.S.C.

§§ 1331, 1337, and 1338(a) and (b), because the claims arise out of federal questions concerning

trademark infringement of federally registered trademarks pursuant to 15 U.S.C. § 1114, federal

unfair competition pursuant to 15 U.S.C. § 1125(a), copyright infringement pursuant to 17 U.S.C.

§ 101, and dilution pursuant to 15 U.S.C. § 1125(c).

       6.      This Court has jurisdiction over the claims in this action that arise under the laws

of the State of Illinois pursuant to § 28 U.S.C. § 1367(a), because the state law claims are so related

to the federal claims that they form part of the same case or controversy and derive from a common

nucleus of operative fact.

       7.      This Court has personal jurisdiction over WhaleCo because WhaleCo offers for sale

and sells its products to consumers in Illinois, through its website at https://www.temu.com and its

corresponding mobile application. Specifically, WhaleCo purposely directs its business activities

toward Illinois residents, through its website and corresponding mobile application, and various

unlawful social media accounts and actions, as described below, and WhaleCo derives substantial

revenue from its services in Illinois. Additionally, Roadget’s claims for trademark infringement,

unfair competition, dilution, deceptive trade practices, copyright infringement, and product

disparagement arise from acts conducted and harm sustained in the State of Illinois. WhaleCo’s

conduct continuous and systematic business within the State of Illinois and played an integral part

in the infringement of Roadget’s trademark rights using counterfeit SHEIN marks in online


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advertisements and fraudulent Twitter accounts directed at residents in this judicial district.

WhaleCo is committing acts that have wrongfully caused Roadget and its affiliate harm in the

State of Illinois.

        8.      This Court has personal jurisdiction over PDD because, on information and belief,

PDD has purposely directed its business activities towards Illinois residents by, for example,

sending one or more emails to influencers who are believed to be located in the State of Illinois

and/or to operate businesses out of the State of Illinois, with PDD inducing those influencers to

make false and deceptive statements in connection with the promotion of Temu’s goods and
services to customers and potential customers of Shein (defined below in Paragraph 10)

nationwide, including in Illinois, in exchange for monetary payments. This court also has personal

jurisdiction over PDD as WhaleCo’s parent corporation, insofar as WhaleCo offers for sale and

sells products to consumers in Illinois on behalf of PDD. On information and belief, PDD controls

and dominates its subsidiary WhaleCo, and does business in Illinois through its subsidiary

Whaleco, which merely serves as an agent for PDD in Illinois. On information and belief, Whaleco

has no purpose other than to conduct business for PDD, such that WhaleCo’s existence is simply

a formality, and the sole purpose of WhaleCo is to serve as a U.S.-based agent that manages the

operations of PDD’s online retail store operating under the TEMU brand.

        9.      Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions which gave rise to the claims occurred in this district.

Particularly, Defendants are targeting consumers, and specifically the customers of Roadget’s
affiliate, nationwide—including those customers located within this district.

                                  FACTUAL BACKGROUND

        A.      The SHEIN Brand and Roadget’s Valuable Intellectual Property Rights

        10.     Roadget’s SHEIN trademarks are used to sell a wide variety of products around the

world, including in the United States, where the SHEIN-branded goods and services are primarily

sold by Roadget’s affiliate and licensee, Shein Distribution Corporation (“SDC”) through the

website at https://us.shein.com (the “SHEIN Website”) and through the corresponding mobile


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application (the “SHEIN Mobile App”). Roadget and SDC are collectively referred to in this

Complaint as “Shein.” The SHEIN trademarks are now associated with one of the most popular

online fashion and lifestyle retailers in the world. In the U.S., SDC offers a wide range of products

under the SHEIN trademarks and domain name, including apparel for women, men, and children,

as well as everything from home goods to pet supplies. The immense and diverse products offered

in connection with the SHEIN trademarks allow consumers to stay trendy without spending a

fortune on apparel and essential goods.

       11.     A significant contributor to the success of the SHEIN brand has been online
marketing strategies on social media platforms and fashion blogs, appealing to consumers who

prefer to shop online. Specifically, the SHEIN brand has partnered with thousands of influencers,

celebrities, fashion bloggers and contestants on reality shows, and has started viral trends.

       12.     The popularity of the SHEIN brand among consumers has skyrocketed in the last

several years. In May 2021, the SHEIN Mobile App became the most downloaded shopping

mobile application in the U.S. on both iOS and Android, overtaking even downloads of Amazon’s

mobile application. In May 2022, that same mobile application became the most downloaded

mobile application in the U.S. in any category, outperforming both TikTok and Instagram. The

SHEIN brand also has a significant presence on social media, with over 26 million followers on

Instagram, 5.5 million followers on TikTok and over 500,000 followers on Twitter (collectively,

the “Genuine SHEIN Social Media Accounts”). A screen capture of the official Twitter account

for the SHEIN brand, @SHEIN_Official is shown below and attached as Exhibit 1 (the “Genuine
SHEIN Twitter Account”):




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       13.     SDC offers a wide variety of SHEIN-branded goods for sale in the United States

through the SHEIN Website and the SHEIN Mobile App. The SHEIN brand is extraordinarily

popular, particularly with young adult consumers. A screen capture of the SHEIN Website is

attached as Exhibit 2.

       14.     Through the substantial growth of the SHEIN brand over the last several years, the

brand has developed global name recognition and goodwill. A significant component of the

success of the business associated with the SHEIN brand has been the investment in building brand

recognition, including through the methods of reaching consumers outlined above, as well as

through registration of various intellectual property rights.

       15.     For example, Roadget owns the following “SHEIN” trademarks registered on the

U.S. Principal Register:
Mark/Name/AN/RN            Full Goods/Services
SHEIN (Stylized)           (Int’l Class: 14)
                           Jewelry; costume jewelry; necklaces; earrings; bracelets; rings; jewelry
                           brooches; watches; hat jewelry; jewelry pins for use on hats; pins being
RN: 6224013                jewelry; precious metals, unwrought or semi-wrought; jewelry
SN: 88776666               accessories, namely, jewelry clips for adapting pierced earrings to clip-on
                           earrings; jewelry findings; jewelry boxes, jewelry charms, alarm clocks,
Registered 12/15/2020      split rings of precious metal for keys




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Mark/Name/AN/RN         Full Goods/Services
SHEIN (Stylized)        (Int’l Class: 25)
                        Scarves; dresses; kimonos; shirts; tank tops; camisoles; blouses; t-shirts;
                        knitwear, namely, knit tops, knit bottoms; sweaters; jumpers; coats; vests;
RN: 6649062             parkas; capes; sweatshirts; lingerie; negligees; swimwear; jackets;
SN: 87857183            blazers; leggings; jumpsuits; pants; trousers, shorts; shoes; shoes, namely,
                        flats and pumps; heels; sandals; boots; shawls; socks; bikinis; night
Registered 2/22/2022    gowns; pajamas; bathrobes; gloves; bras; bustiers; rainwear; aprons; belts
                        for clothing; hats

SHEIN (Stylized)        (Int’l Class: 09)
                        Cell phone cases; eyeglasses; digital photo frames; bathroom scales;
RN: 5689042             sunglasses; downloadable computer software in the nature of applications
SN: 87857147            for purchases of clothes and fashion accessories; spectacle cases;
                        spectacle frames; remote control apparatus for the control of televisions
Registered 3/5/2019     which the remote is designed to control; counters, namely, thread counters

SHEIN (Stylized)        (Int’l Class: 16)
                        Posters; printed matter, namely, photographs in the field of fashion;
RN: 5944948             paper; steel pens; drawing materials, namely, brushes; ink, namely, ink
SN: 87857222            for pens, stamping ink; stationery; gummed tape for stationery or
                        household use; stamps in the nature of stamp pads and ink stamps; seals;
Registered 12/24/2019   coasters of paper

SHEIN (Stylized)        (Int’l Class: 24)
                        Bed liners in the nature of mattress covers; table liners in the nature of
                        textile tablecloths; bed sheets; towels of textile; silk fabrics for printing
RN: 5893349             patterns; travelling rugs; lap robes; pillowcases; fitted furniture covers of
SN: 87857249            textile; linen cloth; canvas for tapestry or embroidery
Registered 10/22/2019

SHEIN (Stylized)        (Int’l Class: 26)
                        Hair clips; hair accessories, namely, jaw clips; hair pins; hat pins; belt
                        buckles; bobby pins; hat ornaments not of precious metal, namely, hat
RN: 5893350             trimmings
SN: 87857258
Registered 10/22/2019

SHEIN (Stylized)        (Int’l Class: 35)
                        Advertising agency services; advisory in business management; import
                        and export agency services; providing online marketplace for buyers of
RN: 6649063             products and services; organization of exhibitions for commercial or
SN: 87857188            advertising purposes; employment agency services; relocation services for
                        companies; compiling indexes of information on the internet for
Registered 2/22/2022    commercial or advertising purposes; business auditing; sponsorship
                        services, namely, sponsorship search, financial sponsorship search




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Mark/Name/AN/RN         Full Goods/Services
SHEIN (Stylized)        (Int’l Class: 21)
                        Battery-powered applicators for applying cosmetics to eyelashes; daily
                        used enamel plastic wares, namely, basins in the nature of receptacles,
RN: 5893348             bowls, plates, pots, cups; daily use glassware, namely, cups, plates, pots,
SN: 87857247            butter crocks; daily use chinaware, namely, basins in the nature of
                        receptacles, bowls, plates, pots, coffee services in the nature of tableware,
Registered 10/22/2019   butter crocks, candle jars, trash cans; basting brushes; beverage glassware
                        for serving liqueur; boxes for dispensing paper towels for household use;
                        toothbrushes; toothpicks; combs

SHEIN (Stylized)        (Int’l Class: 18)
                        Bags, namely, suit bags; pocket wallets; rucksacks; attaché cases;
                        handbags; travelling trunks; key cases; bags for sports; umbrellas;
RN: 5840545             imitation leather; wallets; purses; knapsacks; suitcases; beach bags; all-
SN: 87857225            purpose sports bags; book bags; travel cases; shopping bags, namely,
                        leather shopping bag, textile shopping bag; travel kits, namely, travel
Registered 8/20/2019    cases sold empty; string bags for shopping
SHEIN                   (Int’l Class: 25)
RN: 6861756             Bandanas; Beachwear; Belts; Blazers; Blouses; Bodysuits; Camisoles;
SN: 88107563            Coats; Dresses; Footwear; Gloves; Headwear; Jackets; Jeans; Jumpsuits;
                        Kimonos; Leggings; Lingerie; Loungewear; Pants; Robes; Rompers;
Registered 10/4/2022    Scarves; Shirts; Shorts; Skirts; Sleepwear; Socks; Sweaters; Sweatshirts;
                        Swimwear; T-shirts; Tights; Tops as clothing; Underwear; Vests
SHEIN                   (Int’l Class: 35)
RN: 6861757             On-line retail store services featuring clothing, clothing accessories, hair
SN: 88107571            accessories, bags, purses, footwear, headwear, jewelry, sunglasses, belts
                        for clothing, makeup, bedding, and cell phone cases and accessories
Registered 10/4/2022
SHEIN (Stylized)        (Int’l Class: 14)
                        Jewelry; costume jewelry; necklaces; earrings; bracelets; rings; brooches;
                        watches; hat ornaments of precious metal; pins being jewelry

                        (Int’l Class: 18)
                        Wallets; handbags; purses; knapsacks; suitcases; beach bags; all-purpose
RN: 5256688             sports bags; book bags; travel utensils made of leather, namely, travel
SN: 86526588            cases; shopping bags, namely, leather shopping bag, textile shopping bag;
                        travel kits, namely, travel cases; string bags for shopping
Registered 8/1/2017
                        (Int’l Class: 25)
                        Scarves; dresses; kimonos; shirts; tank tops; camisoles; blouses; T-shirts;
                        knitwear, namely, knit tops, knit bottoms; sweaters; jumpers; coats; vests;
                        parkas; capes; sweatshirts; lingerie; negligees; swimwear; jackets;
                        blazers; leggings; jumpsuits; pants; trousers, shorts; shoes; flats; pumps;
                        heels; sandals; boots; shawls; socks; bikinis; night gowns; pajamas;
                        bathrobes; gloves; bras; bustiers; rainwear; aprons; belts for clothing; hats
                        (Int’l Class: 26)




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Mark/Name/AN/RN            Full Goods/Services
                           Hair clips; hair accessories, namely, jaw clips; hair pins; hat pins; belt
                           buckles; Bobby pins; hat ornaments not of precious metal
                           (Int’l Class: 35)
                           Online retail store services in the fields of clothing, accessories, footwear,
                           and jewelry

Copies of these trademark registrations are attached as Exhibit 3 (the “SHEIN Marks”).
       16.     The trademark registrations for the SHEIN Marks are valid and subsisting.

       17.     The SHEIN Marks serve as unique source identifiers for the online retail store

services and products offered and sold through the SHEIN Website and the SHEIN Mobile App.
       18.     The SHEIN Marks have become well known by Illinois and U.S. consumers

through extensive investments in advertising. As a result of the success and popularity of the

SHEIN brand and through extensive promotional efforts, the SHEIN Marks are famous,

distinctive, and widely recognized by the general consuming public of both the State of Illinois (or

of a geographic area within this State), and the United States.

       19.     To further protect the investment in the SHEIN brand, Roadget also owns a number

of copyrights, including the following copyrights registered with the U.S. Copyright Office for

promotional images on the SHEIN Website and/or the SHEIN Mobile App:


                  Copyright Reg. Number               Deposit Copy of Work
                  VA0002320444




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                  Copyright Reg. Number              Deposit Copy of Work
                  VA0002320442




                  VA0002320439




                  VA0002325368




Copies of copyright registration certificates for the above registrations are attached as Exhibit 4,

and are collectively referred to as the “SHEIN Registered Copyrights.”

       20.     In addition to the many images that have been registered with the U.S. Copyright

Office, Roadget owns several copyright applications for other images that are, or have been,

displayed on the SHEIN Website and/or the SHEIN Mobile App that are pending with the U.S.

Copyright Office, including the following:




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                   Copyright Appl. Number                Deposit Copy of Work
                  Pending case number 1-
                  11856789081




                  Pending case number 1-
                  11857010711




                  Pending case number 1-
                  11857095562




        21.      The copyright applications referenced in Paragraph 18 are collectively referred to

herein as the “SHEIN Copyright Applications.”1



1
  Roadget is not currently asserting the SHEIN Copyright Applications in this First Amended Complaint, but intends
to further amend this Complaint once these applications mature to registration.


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         22.   The copyright registrations for the SHEIN Registered Copyrights are valid and

enforceable.

         23.   The images associated with the SHEIN Registered Copyrights and the SHEIN

Copyright Applications (collectively, the “SHEIN Copyrights”) are included as part of product

listings on the SHEIN Website and/or the SHEIN Mobile App.

         B.    Defendants and Their Wrongful Conduct

         24.   Temu launched its U.S. online shopping website called TEMU on September 1,

2022, which is available at https://www.temu.com and through a mobile application. Like the
SHEIN Website and the SHEIN Mobile App, the TEMU-branded website and app offer a wide

variety of products for sale, including apparel and footwear, beauty and health, home and garden,

electronics, office products, and pet supplies.

         25.   On information and belief, Temu entered the U.S. market with the specific intent

to directly compete with Shein. In fact, as soon as Temu launched in the U.S., multiple independent

publications compared Temu to Shein and one even called Temu “a Shein imitator,” as shown

below:




(Exhibit 5 RetailWire, https://retailwire.com/discussion/will-temu-have-shein-like-success-as-it-

goes-online-in-the-u-s/.)




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(Exhibit 6, PingWest, https://en.pingwest.com/a/10723.)




(Exhibit     7   Business    of   Fashion,   https://www.businessoffashion.com/articles/direct-to-

consumer/sheins-new-rival-explained/.)

       26.       The characterization of Temu as “a Shein imitator” has turned out to be prescient,

with Temu actively and deliberately imitating and pretending to be Shein using imposter social

media accounts and posts to divert consumers and business away from purchasing SHEIN-branded

goods in favor of purchasing goods from Temu.

       27.       Before Temu launched in the U.S., Temu was aware of the well-known SHEIN

brand, and the extensive investment in that rapidly growing brand. On information and belief,

Temu has actual knowledge of the SHEIN Marks and the images associated with the SHEIN
Copyrights, and has visited the SHEIN Website, the SHEIN Mobile App, the Genuine SHEIN

Twitter Account and the Genuine SHEIN Social Media Accounts on multiple occasions, while

developing, planning to launch, and since launching its online retail store in the U.S.

       28.       On information and belief, Temu considers Shein to be one of the biggest

competitors – if not the biggest competitor – for the newly-introduced TEMU brand. On

information and belief, Temu’s chief marketing strategies include persuading customers of SDC

to purchase products from Temu instead of purchasing SHEIN-branded products, and attempting

to persuade loyal customers of Shein to switch their loyalty to Temu—and Temu has decided to



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carry out these marketing strategies by actively deceiving consumers and by pretending to be Shein

through online platforms such as Twitter. Competing with Shein is central to Temu’s marketing

strategies, and its infringement of the SHEIN Marks and its use and reproduction of the images

associated with the SHEIN Copyrights are willful, tactical, and strategic choices, deliberately made

by Temu in an effort to divert consumers of Shein to Temu.

       29.     Instead of Temu fairly competing by, for example, offering comparable products at

a lower price or by offering a more diverse array of products for selection and purchase by

consumers, Temu has deliberately been engaging in unfair competition by exploiting the SHEIN
brand and pretending to be Shein online to promote Temu’s own brand, products, and services.

Temu’s unlawful activity includes trademark infringement, counterfeiting, copyright

infringement, false advertising, and unlawful business practices, with the intent to divert customers

for SHEIN-branded goods and deceive them into downloading Temu’s app or buying from Temu

instead.

               i.      Temu’s Fraudulent Twitter Accounts

       30.     Temu has embarked on a deliberate scheme of impersonating, or aiding and

abetting the impersonation of, Shein.

       31.     To accomplish this goal, Temu and/or third parties acting at Temu’s direction and

on its behalf have created and operated or controlled, directly or indirectly, false, fake, and

fraudulent Twitter accounts that incorporate the SHEIN Marks and that have pretended to be Shein

in the eyes of consumers, such as @SHEIN_DC, @SHEIN_USA_, and @SHEIN_NYC (the
“Imposter Twitter Accounts”), as shown below, and attached as Exhibit 8:




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       32.     Temu has used the Imposter Twitter Accounts to falsely suggest that it is associated

with the SHEIN brand or that it is “SHEIN” (i.e., the official Twitter outlet/handle for Shein), by

using spurious marks that are identical to or substantially indistinguishable from the SHEIN Marks

(the “Counterfeit SHEIN Marks”).

       33.     Temu has been attempting to impersonate Shein by using the Counterfeit SHEIN

Marks with the Imposter Twitter Accounts, including through the use of the Counterfeit SHEIN

Marks in the handles for the Imposter Twitter Accounts and through providing links in the profile

sections of the Imposter Twitter Accounts to authentic domain names owned by Roadget, such as

<shein.com>, and through the use of the same profile icons and profile photos in the Imposter

Twitter Accounts as the Genuine SHEIN Twitter Account.

       34.     Temu has even gone so far as to intentionally and deliberately create the false

impression that the Imposter Twitter Accounts have as many followers as the Genuine SHEIN

Twitter Account in its efforts to impersonate Shein, by displaying in the profile section of the

Imposter Twitter Accounts the number of followers of the Genuine SHEIN Twitter Account using

the same formatting that Twitter uses to display the real statistic for each account – even though


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the Imposter Twitter Accounts only have a few followers. An example of this is highlighted below

in a side-by-side comparison chart:

    Genuine SHEIN Twitter Account                       Temu’s Imposter Twitter Account
              (Exhibit 1)                                         (Exhibit 8)




       35.    Temu has also attempted to impersonate Shein and trick consumers into believing

Temu is associated with that brand by retweeting authentic posts from the Genuine SHEIN Twitter

Account and using authentic hashtags associated with the SHEIN brand, such as #SHEIN,

#SHEINforall, and #SHEINSS22:




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       36.     Temu created and has used the Imposter Twitter Accounts and the Counterfeit

SHEIN Marks to unlawfully promote its own fledgling e-commerce website and mobile

application and to trick consumers into downloading the Temu mobile application.

       37.     Temu has lured consumers, including customers or potential customers of Shein,

into viewing and interacting with the Imposter Twitter Accounts through the use of the Counterfeit

SHEIN Marks. Temu then took advantage of this attention with posts on the Imposter Twitter

Accounts that are intended to divert consumers from buying SHEIN-branded products to using

Temu instead for their purchases (the “Deceptive Twitter Posts”). In some cases, the Deceptive
Twitter Posts have told consumers to join Temu while prominently using and displaying the

Counterfeit SHEIN Marks, and while “winking” at those consumers about its appreciation for

“supporting the new twitter [account] of SHEIN”:




       38.     Other Deceptive Twitter Posts have deceived consumers into downloading the

Temu application by embedding innocuous links in them that only display the Counterfeit SHEIN

Marks. Those posts, which do not have any Temu branding, direct consumers to “Download APP

from link”:




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Those links, however, did not direct consumers to download the SHEIN Mobile App, but instead

directed them to Temu’s website to download the Temu app, as shown in the screen capture below:




         39.   The Counterfeit SHEIN Marks used by Temu on the Imposter Twitter Accounts are

identical to and confusingly similar to the SHEIN Marks in appearance, sound, meaning, and

commercial impression.

         40.   The Counterfeit SHEIN Marks, as used by Temu on the Imposter Twitter Accounts,

falsely suggest that Temu is affiliated with, or is, Shein.
         41.   Temu created and has used the Imposter Twitter Accounts to trade off the

recognition and goodwill of the SHEIN Marks in order to capture the attention of actual and

potential customers of SHEIN-branded goods, and to divert those people into becoming customers

of Temu.

         42.   Consumers who encountered Temu’s Imposter Twitter Accounts would be likely

to falsely believe that those accounts were operated by Shein. As a result, such consumers may

believe that Temu’s website and mobile application, which appear to have been advertised and

promoted by “SHEIN” on the Imposter Twitter Accounts, is sponsored by, or associated with,

Shein.



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        43.     On information and belief, Temu has earned significant profits from this wrongful

conduct, with ongoing ripple effects that continue to this day. Temu’s U.S.-based website and

mobile application did not even exist a mere six months ago – and the TEMU brand was

completely unknown to U.S. consumers at that time. Temu deliberately and strategically launched

its website and mobile application in the U.S. while riding off the coattails of the SHEIN brand.

Temu did this, for example, by, directly or indirectly, impersonating the SHEIN brand through the

Imposter Twitter Accounts, and by using those accounts to direct consumers to buy products on

Temu.com and/or to download the Temu mobile application, all the while suggesting to consumers
that “SHEIN” (i.e., the Imposter Twitter Accounts, whom consumers believe to be associated with

the SHEIN brand) is actively promoting the newly-launched Temu website and mobile application.

On information and belief, this unlawful conduct caused U.S. consumers who would otherwise

never have heard of Temu to purchase goods through Temu’s website or mobile application,

instead of purchasing SHEIN-branded goods through the SHEIN Website or the SHEIN Mobile

App. Moreover, on information and belief, at least some of those diverted consumers (who only

heard of Temu by virtue of its wrongful and infringing conduct) later spread the word to other U.S.

consumers about their purchases through Temu. On information and belief, Temu would not be as

successful or recognized today if Temu’s fraudulent misuse of the SHEIN brand was not

foundational to Temu’s initial launch in the U.S.

        44.     Temu’s infringement of the SHEIN Marks has been knowing and willful. Temu

was on constructive notice of the SHEIN Marks by virtue of their federal registrations. Further,
because Temu considers the SHEIN brand to be its biggest competition, Temu had actual

knowledge of Roadget’s trademark rights in the SHEIN Marks, regardless of their status of

registration. In fact, Temu has actively tried to hire at least some employees of Roadget and/or its

affiliate(s).

        45.     Temu has deliberately used counterfeit imitations of the SHEIN Marks on its

Imposter Twitter Accounts. Temu knows it never asked Roadget for permission to use any of the

SHEIN Marks. Temu also knows that Roadget would never agree to allow a company like Temu,


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which directly competes with Shein, to use Roadget’s SHEIN Marks to pretend to be “SHEIN” on

social media. These days, social media is where businesses and brands can most efficiently reach

their consumers. Temu knows this, which is why Temu deliberately created the Imposter Twitter

Accounts – to confuse and divert consumers of SHEIN-branded goods away from Shein, to instead

purchase from Temu.

       46.     On November 1, 2022, Roadget sent Temu a letter demanding that it immediately

and permanently cease and desist from any further infringement of Roadget’s intellectual property

rights. A copy of that letter is attached as Exhibit 9. Temu ignored that letter.
       47.     On November 18, 2022, Roadget resent the demand letter to Temu and began

contacting Temu’s trademark counsel via email and telephone. Despite repeated follow-ups with

Temu’s counsel, Temu and its counsel have continued to ignore Roadget.

               ii.     Temu’s Infringement of the SHEIN Registered Copyrights

       48.     Without the permission or authorization of Roadget, Temu has also used and

continues to use copyrighted images owned by Roadget in connection with the sale and distribution

of goods on Temu’s website.

       49.     Specifically, without the permission or authorization of Roadget, and with access

and knowledge of the material covered by U.S. Copyright No. VA0002320444, Temu has directly

reproduced, distributed, and displayed the copyrighted image with the sale and distribution of a

“Girls Casual Patchwork Striped Embroidered Pullover T-Shirt.” A comparison of the copyrighted

material and Temu’s product listing is below and attached as Exhibit 10:




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          Copyrighted Material                            Temu’s Product Listing




       50.     Without the permission or authorization of Roadget, and with access and

knowledge of the material covered by U.S. Copyright No. VA0002320442, Temu has directly

reproduced, distributed, and displayed the copyrighted image with the sale and distribution of a

“Girls Khaki Belt Tunic Trench Coat.” A comparison of the copyrighted material and Temu’s

product listing is below and attached as Exhibit 10:
       Copyrighted Material                            Temu’s Product Listing




       51.     Without the permission or authorization of Roadget, and with access and

knowledge of the material covered by U.S. Copyright No. VA0002325368, Temu has directly

reproduced, distributed, and displayed the copyrighted image with the sale and distribution of a

“2pc Boys Autumn Long Sleeve Set Kids Fashion Sports Casual Set.” A comparison of the

copyrighted material and Temu’s product listing is below and attached as Exhibit 10:



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       Copyrighted Material                         Temu’s Product Listing




       52.    Without the permission or authorization of Roadget, and with access and

knowledge of the material covered by U.S. Copyright No. VA0002320439, Temu has directly

reproduced, distributed, and displayed the copyrighted image with the sale and distribution of

“Girls’ Casual Skinny Buttoned Trousers Flared.” A comparison of the copyrighted material and

Temu’s product listing is below and attached as Exhibit 10:
        Copyrighted Material                        Temu’s Product Listing




       53.    Without the permission or authorization of Roadget, and with access and

knowledge of images on the SHEIN Website and/or the SHEIN Mobile App, Temu has also

reproduced, distributed, and displayed works that are subject to currently pending copyright

applications at the U.S. Copyright Office, namely pending Case Nos. 1-11856789081, 1-

11857010711, and 1-11857095562. Roadget intends to amend this Complaint once the Copyright



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Office acts on these copyright applications. A comparison of that material and Temu’s product

listings is below and attached as Exhibit 10:
    Pending Copyright Applications                   Temu’s Product Listings




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   Pending Copyright Applications                        Temu’s Product Listings




         54.     Temu is using copyrighted images that are owned by Roadget, without a license

from Roadget.

         55.     Temu’s infringement has at all times been knowing and willful. As a direct

competitor, Temu has knowledge of the SHEIN Website and the SHEIN Mobile App, and it

actively monitors each of same to sell competing (and sometimes identical) products. Moreover,

Roadget sent Temu a cease-and-desist letter addressing infringement of the SHEIN Copyrights.

(See Exhibit 9.) Temu ignored that letter and continued to infringe the SHEIN Copyrights.

         56.     On or around November 8, 2022, SDC, as Roadget’s affiliate and licensee, sent a

Copyright Infringement Notice to the Designated Agent to receive Notifications under the DMCA

for    the     Temu   Website   pursuant   to   the   instructions   on   the   Temu    Website     at

https://www.temu.com/intellectual-property-policy.html. (See Exhibit 11.) While the registration

certificates for the SHEIN Registered Copyrights identify the owner of those copyrights as

Guangzhou Shein International Import & Export Co. Ltd., those registrations were assigned to

Roadget after they issued. In the DMCA takedown notice of Exhibit 11, an individual acting on

behalf of Roadget’s affiliate and licensee, SDC, certified that he had “the authority to act on behalf

of the owner” of the copyrights at issue (emphasis added) (i.e., Roadget).




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         57.      As of this filing, at least one of the webpages containing infringing images listed in

that Copyright Infringement Notice is still available on the Temu Website. Thus, at least in part,

Temu ignored that notice, as well as the notice given by the initial Complaint in this case (Dkt.

No. 1) and continued to infringe the SHEIN Copyrights.

         58.      On information and belief, Temu or its agents posted the images associated with

the SHEIN Registered Copyrights on the Temu Website.

         59.      On information and belief, Temu intends to continue using the images associated

with the SHEIN Copyrights without the authorization of Roadget.
         60.      Temu is intentionally using the infringing images to profit off the original, creative

works over which Roadget has exclusive rights.

                  iii.     Temu’s Unlawful Influencer Pitch

         61.      On information and belief, Temu has also been disseminating false and deceptive

statements regarding Shein products to influencers and inducing them to make such statements in

connection with the promotion of Temu’s goods and services to their followers in exchange for

monetary payments. In particular, Temu is providing influencers with social media guidelines (the

“Influencer Guidelines”) that contain the following statements to use for posting (the “Influencer

Statements”):

         “Shein is not the only cheap option for clothing! Check Temu.com out, cheaper and way

         better quality”; and

         “Looking for clothes better than Shein but cheaper than revolve? Check
         Temu.com out.”

A copy of the Influencer Guidelines is attached as Exhibit 12.

         62.      For example, Temu sent Influencer 12 an email on October 6, 2022 attaching the

Influencer Guidelines, containing the Influencer Statements that were intended to be used with


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  Influencer 1 has worked for both the SHEIN and TEMU brands and publicizing the identity of Influencer 1 could
jeopardize Influencer 1’s relationship with either brand. Plaintiff will provide the identity of Influencer 1 when so
requested by the Court or as required by law, and on a confidential basis.


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posts to be made on Instagram and YouTube. A copy of the email chain and its attachments are

collectively attached as Exhibit 13. On information and belief, the email attached as Exhibit 13 is

representative of numerous emails sent by Temu to influencers, each of which is likely to contain

the same or similar content. However, the identities of the individuals to whom Temu sent those

numerous emails are known only to Temu, and Plaintiff expects that discovery will identify the

identities of these email recipients.

       63.     The Influencer Statements are false and misleading because the clothes sold on

Temu.com are not less expensive and not of “way better quality” than those sold on the SHEIN
Website and/or through the SHEIN Mobile App.

       64.     On information and belief, some influencers have posted the Influencer Statements

on social media at the direction of Temu.

       65.     For example, on October 1, 2022, around the time Temu launched, Catherine

Quirico (“Quirico”), a popular influencer, posted the Influencer Statements on Instagram, a

platform where she has over 137,000 followers. The post was liked by over 4,800 people and

almost 200 users commented on the post. Quirico also acknowledges in the post that she has a

“Paid partnership with shoptemu”.




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A true and correct copy of the Quirico Instagram post is attached as Exhibit 14.

       66.     As another example, on January 18, 2023, Maureen Rainha (“Rainha”), using the

social media account, @couponingwithmaureen, with over 2,000 followers on Instagram, posted

a similar advertisement featuring the Influencer Statements:




A true and correct copy of the Rainha Instagram post is attached as Exhibit 15.

       67.     Temu had no reason to believe that the Influencer Statements were true at the time

they were distributed to influencers or disseminated to the public.

       68.     On information and belief, Roadget has been harmed by the Influencer Statements.

By disseminating the Influencer Statements to the influencers, Temu committed false advertising

by telling the influencers that Temu products are cheaper and higher quality than SHEIN-branded

products. Roadget was also harmed by the Influencer Statements because Temu induced

influencers to further disseminate the Influencer Statements.
               iv. Temu’s Unlawful Advertising

       69.     On information and belief, beyond using Twitter in relation to the Imposter Twitter

Accounts, Temu used other channels to carry out its scheme of infringement and to deceive U.S.

customers.

       70.     Roadget discovered advertisements on Google in the U.S. (and worldwide) that use

the SHEIN Marks deceptively to promote the Temu Website:




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(See Exhibit 16, collectively, the “Infringing Ads”).

         71.   The Infringing Ads prominently display “SHEIN” in the headline of the ad in a

larger, bolded, and colored font, with the mark “Temu” only being mentioned in tiny gray font

within the body of the ad and within the URL for the Temu Website at the top of the ad, as shown

above.

         72.   Consumers who see any of these Infringing Ads that incorporate the SHEIN Marks

are likely to be deceived into believing that Temu is SHEIN, is associated with the SHEIN brand,

or that SHEIN-branded products are offered for sale through the Temu Website.

         73.   Consumers are likely to be deceived and/or confused by Temu’s Infringing Ads

because of how similar they look when compared to the advertisements for the SHEIN brand

disseminated by Roadget and/or its affiliates or licensees. A comparison of Temu’s Infringing Ads

and a Genuine Shein Advertisement is shown below (and reflected in Exhibits 16 and 17):



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Genuine Shein Advertisement:




Temu’s Infringing Ads:




(Compare Exhibit 16 to Exhibit 17).

       74.    When consumers click on the Infringing Ads they are directed to the Temu Website,

where no SHEIN-branded products are offered for sale.

       75.    On information and belief, customers and potential customers who wish to visit the

SHEIN Website are lured into viewing and interacting with the Temu Website instead.

       76.    On information and belief, Temu is diverting consumers from visiting the SHEIN

Website and/or from buying SHEIN-branded products and luring those consumers into buying

Temu’s products through the unlawful use of the SHEIN Marks.




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                                     COUNT I
                       FEDERAL TRADEMARK COUNTERFEITING
                                 (15 U.S.C. § 1114)

       77.     Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.

       78.     Plaintiff owns the SHEIN Marks.

       79.     The SHEIN Marks are fanciful and arbitrary and are associated in the minds of the
public and consumers with Plaintiff.

       80.     Defendants are using marks that are identical to or indistinguishable from genuine

SHEIN Marks in association with the promotion of its online retail store services, without

Plaintiff’s approval, authorization, or consent.

       81.     Defendants’ use of the Counterfeit SHEIN Marks with the Imposter Twitter

Accounts and Infringing Ads has been likely to cause confusion in the minds of the public, leading

the public to falsely believe that Defendants’ online retail store services originate from Plaintiff

and/or that Plaintiff has approved, sponsored, or otherwise associated itself with the goods and

services offered for sale and/or distributed by Defendants.

       82.     Defendants’ use of the Counterfeit SHEIN Marks without Plaintiff’s authorization

or consent constitutes a willful and intentional infringement of the SHEIN Marks.

       83.     Defendants’ conduct is intended to exploit the strong reputation and goodwill that

is exclusively associated with the SHEIN Marks, to take an unfair competitive advantage of the

SHEIN Marks’ goodwill without any expenditure of Defendants’ own resources.

       84.     Plaintiff has no control over the quality of the goods or services marketed and/or

sold by Defendants. Because of the likelihood of confusion as to the source of Defendants’ goods

and/or services, or as to whether Defendants’ goods and/or services are sponsored or endorsed by,

or affiliated with, Plaintiff, in view of Defendants’ blatant use of the SHEIN Marks in the Imposter

Twitter Accounts and Infringing Ads to lure in consumers, and hype up Defendants using the

Imposter Twitter Accounts, Plaintiff’s valuable goodwill in the SHEIN Marks is at the mercy of,

and being irreparably harmed by, Defendants.


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       85.     Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause substantial and irreparable injury to Plaintiff.

       86.     Plaintiff has no adequate remedy at law.

       87.     As a result of Defendants’ actions, Plaintiff has suffered, and will continue to suffer,

money damages in an amount to be proven at trial.

                                       COUNT II
                         FEDERAL TRADEMARK INFRINGEMENT
                                   (15 U.S.C. § 1114)

       88.     Plaintiff repeats and realleges each and every allegation set forth in the preceding
paragraphs as if fully set forth herein.

       89.     Defendants are using marks that are identical to or indistinguishable from genuine

SHEIN Marks in association with the promotion of its online retail store services, without

Plaintiff’s approval, authorization, or consent.

       90.     Defendants’ use of the Counterfeit SHEIN Marks with the Imposter Twitter

Accounts and Infringing Ads has been likely to cause confusion in the minds of the public, leading

the public to falsely believe that Defendants’ online retail store services originate from Plaintiff

and/or that Plaintiff has approved, sponsored, or otherwise associated itself with the goods and

services offered for sale and/or distributed by Defendants.
       91.     Defendants’ use of the Counterfeit SHEIN Marks without Plaintiff’s authorization

or consent constitutes a willful and intentional infringement of the SHEIN Marks in violation of

15 U.S.C. § 1114.

       92.     Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause substantial and irreparable injury to Plaintiff.

       93.     Plaintiff has no adequate remedy at law.

       94.     As a result of Defendants’ actions, Plaintiff has suffered, and will continue to suffer,

money damages in an amount to be proven at trial.




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                              COUNT III
    FEDERAL UNFAIR COMPETITION AND FALSE DESIGNATIONS OF ORIGIN
                       (15 U.S.C. § 1125(a)(1)(A))

       95.     Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.

       96.      Defendants’ use of the Counterfeit SHEIN Marks constitutes unfair competition

and a false designation of origin or false or misleading description or representation of fact, which
is likely to deceive customers and prospective customers into believing that Defendants’ online

retail services, as well as variety of goods for sale, are associated with or sponsored by Plaintiff,

in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       97.     Upon information and belief, Defendants intentionally adopted and used the

Counterfeit SHEIN Marks to create consumer confusion and traffic off the reputation and goodwill

associated with the SHEIN Marks.

       98.     Plaintiff has no control over the quality of the goods or services marketed and/or

sold by Defendants. Because of the likelihood of confusion as to the source of Defendants’ goods

and/or services, or as to whether Defendants’ goods and/or services are sponsored or endorsed by,

or affiliated with, Plaintiff, in view of Defendants’ blatant use of the SHEIN Marks in the Imposter

Twitter Accounts and Infringing Ads to lure in consumers and hype up Defendants using the

Imposter Twitter Accounts and Infringing Ads, the valuable goodwill in the SHEIN Marks is at

the mercy of, and being irreparably harmed by, Defendants.

       99.     Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause substantial and irreparable injury to Plaintiff. Among other things,

Defendants’ actions have caused and are continuing to cause monetary harm (through lost sales)

as well as harm to Plaintiff’s brands, goodwill, and reputation.

       100.    Plaintiff has no adequate remedy at law.

       101.    As a result of Defendants’ actions, Plaintiff has suffered, and will continue to suffer,

money damages in an amount to be proven at trial.




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                                         COUNT IV
                               FEDERAL FALSE ADVERTISING
                                  (15 U.S.C. § 1125(a)(1)(B))

       102.    Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.

       103.    Upon information and belief, Defendants intentionally created the Imposter Twitter

Accounts and the Infringing Ads to mislead consumers. Defendants also disseminated the
Influencer Statements to an audience of influencers, including Influencer 1, Quirico, Rainha, and

others, thereby falsely stating to that audience that the clothes sold on Temu.com are less expensive

and of “way better quality” than those sold on the SHEIN Website and/or through the SHEIN

Mobile App. The Imposter Twitter Accounts, Infringing Ads and Influencer Statements were false

or misleading, and had the capacity to deceive, and that deception had a material effect on the

purchasing decision of the audience of influencers and others. The Imposter Twitter Accounts,

Infringing Ads and Influencer Statements also have a material effect on interstate commerce by

persuading consumers (including the influencers) to purchase from Defendants instead of Shein.

As a result of Temu disseminating the Imposter Twitter Accounts, Infringing Ads and Influencer

Statements to at least the influencers, Plaintiff has been injured, or is likely to be injured by the

Influencer Statements.

       104.    Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause substantial and irreparable injury to Plaintiff. Among other things,

Defendants’ actions have caused and are continuing to cause monetary harm (through lost sales)

as well as harm to Plaintiff’s brands, goodwill, and reputation.

       105.    Plaintiff has no adequate remedy at law.

       106.    As a result of Defendants’ actions, Plaintiff has suffered, and will continue to suffer,

money damages in an amount to be proven at trial.




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                                       COUNT V
                          CONTRIBUTORY FALSE ADVERTISING
                                  (15 U.S.C. § 1125(a))

       107.     Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.

       108.    On information and belief, Defendants disseminated the Influencer Statements to

third-party influencers, including Influencer 1, Quirico, Rainha, and others, who are believed to
have published the Influencer Statements. Apart from Influencer 1, Quirico, and Rainha, however,

the identities of all of the other influencers to whom Defendants disseminated the Influencer

Statements are known only to Defendants. Moreover, because of difficulty of searching for social

media posts and the fact that many internet search engines do not regularly index social media

posts, Plaintiff is currently unable to identify additional examples of social media posts reflecting

the content of the Influencer Statements without conducting discovery into third parties like

Instagram, YouTube, and others. The Influencer Statements were false or misleading to

consumers, and had the capacity to deceive consumers, where that deception had a material effect

on the consumer’s purchasing decision. The Influencer Statements have a material effect on

interstate commerce by persuading consumers to purchase from Defendants instead of SHEIN-

branded products. As a result of the Influencer Statements, Plaintiff has been injured, or is likely

to be injured by the Influencer Statements.

       109.    Defendants directly engaged with the third-party influencers’ false advertising by

drafting the false and misleading statements and, on information and belief, contracting with third

party influencers to publish and disseminate those statements to consumers.

       110.    Defendants contributed to the third-party influencer’s conduct by knowingly

inducing the third-party influencers to publish false and misleading representations of fact, and by

materially participating in that conduct by drafting the false and misleading representations of fact,

and by encouraging third-party influencers to disseminate the Influencer Statements via social

media posts.




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        111.    Through its relationship with the third-party influencers, Defendants had direct

control over the false and misleading Influencer Statements posted by the influencers.

        112.    Defendants’ inducement of third parties to post false and misleading statements has

injured Plaintiff.

        113.    Defendants’ aforesaid acts have caused, and unless such acts are restrained by this

Court, will continue to cause substantial and irreparable injury to Plaintiff. Among other things,

Defendants’ actions have caused and are continuing to cause monetary harm (through lost sales)

as well as harm to Plaintiff’s brands, goodwill, and reputation.
        114.    Plaintiff has no adequate remedy at law.

        115.    As a result of Defendants’ actions, Plaintiff has suffered, and will continue to suffer,

money damages in an amount to be proven at trial.

                                         COUNT VI
                                COPYRIGHT INFRINGEMENT
                                   (17 U.S.C. § 101 et seq.)

        116.    Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.

        117.    Plaintiff is the exclusive owner of the SHEIN Registered Copyrights for images of

Plaintiff’s products. (Exhibit 4.) The copyright registrations associated with same are valid and

enforceable.

        118.    Defendants had access to the SHEIN Registered Copyrights by virtue of the SHEIN

Website and/or SHEIN Mobile App, which are publicly available.

        119.    Defendants directly copied and/or created derivative works from the SHEIN

Registered Copyrights for its infringing products offered for sale by Defendants.

        120.    In copying the SHEIN Registered Copyrights, Defendants have violated the

copyright laws of the United States, under 17 U.S.C. § 101 et seq.

        121.    While Plaintiff is not asserting the SHEIN Copyright Applications at this time,

Plaintiff intends to amend this pleading once those applications mature to registration.



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       122.    By reason and as a direct result of these acts of copyright infringement by

Defendants, Plaintiff has suffered great and irreparable damage, the full extent of which is

currently unknown, while Defendants position itself for unjust enrichment at Plaintiff’s substantial

expense. Plaintiff is suffering, and will continue to suffer, great and irreparable damage unless and

until Defendants is enjoined by this Court.


                                       COUNT VII
                             FEDERAL TRADEMARK DILUTION
                                   (15 U.S.C. § 1125(c))

       123.    Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.

       124.    Through the longstanding and widespread use of the SHEIN Marks in the United

States, the SHEIN Marks have become impressed upon the minds of the relevant trade and

consuming public as identifying the SHEIN brand, owned by Roadget. As a result, the SHEIN

Marks are famous, distinctive, and widely recognized by the general consuming public in the

United States, and the SHEIN Marks were famous and distinctive prior to Defendants’ acts set

forth above. Defendants’ acts have diluted the distinctive quality of the famous SHEIN Marks, in

violation of 15 U.S.C. § 1125(c).

       125.    Defendants engaged in the aforesaid acts with the intent to trade off Plaintiff’s
reputation and/or to cause dilution of the famous SHEIN Marks.

       126.    Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause substantial and irreparable injury to Plaintiff.

       127.    Plaintiff has no adequate remedy at law.

       128.    As a result of Defendants’ actions, Plaintiff has suffered, and will continue to suffer,

money damages in an amount to be proven at trial.

                                COUNT VIII
                      TRADEMARK DILUTION UNDER THE
          ILLINOIS TRADEMARK REGISTRATION AND PROTECTION ACT
                             (765 ILCS 1036/65)


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       129.     Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.

       130.     Through the longstanding and widespread use of the SHEIN Marks in Illinois and

in the United States, the SHEIN Marks have become impressed upon the minds of the relevant

trade and consuming public as identifying the SHEIN brand, owned by Roadget. As a result, the

SHEIN Marks are famous, distinctive, and widely recognized by the general consuming public in

the State of Illinois, and/or within a geographic area in the State of Illinois. The SHEIN Marks

were famous and distinctive prior to Defendants’ acts set forth above. Defendants’ acts have
diluted the distinctive quality of the famous SHEIN Marks, in violation of the Illinois Trademark

Registration and Protection Act, formerly known colloquially as the “Anti-Dilution Act,” 765

ILCS 1036/65.

       131.     Defendants engaged in the aforesaid acts with the intent to trade off Plaintiff’s

reputation and/or to cause dilution of the famous SHEIN Marks.

       132.     Defendants’ aforesaid acts are greatly diminishing and blurring the source-

identifying capability of the SHEIN Marks.

       133.     Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause substantial and irreparable injury to Plaintiff.

       134.     Plaintiff has no adequate remedy at law.

       135.     As a result of Defendants’ actions, Plaintiff has suffered, and will continue to suffer,

money damages in an amount to be proven at trial, insofar as Defendants willfully intended to
cause dilution of the SHEIN Marks, and Plaintiff is entitled to the remedies set forth in 765 ILCS

1036/65.


                                  COUNT IX
              ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                                (815 ILCS 510)

       136.     Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.


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       137.    On information and belief, Defendants’ acts of creating and disseminating the

Infringing Ads, and creating and operating the Imposter Twitter Accounts, as described above, and

using the Counterfeit SHEIN Marks with those accounts to trick consumers into buying products

from Defendants or downloading Defendants’ mobile application, were made with the intent to

cause a likelihood of confusion, or of a misunderstanding as to the source, ownership and/or

association with SHEIN-branded goods and services.

       138.    On information and belief, Defendants have willfully engaged in the deceptive

trade practices complained of herein.
       139.    Defendants’ acts constitute unlawful and unfair competition in violation of Illinois’

Uniform Deceptive Trade Practices Act, 815 ILCS 510, in that such acts were and are unlawful,

unfair, deceptive, and/or fraudulent business acts.

       140.    On information and belief, Defendants have willfully engaged in the deceptive

trade practices complained of herein.

       141.    Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause great and irreparable injury to Plaintiff.

       142.    Defendants’ statutory violations and other wrongful acts have injured and threaten

to continue to injure Plaintiff, including loss of customers, dilution of goodwill, confusion of

existing and potential customers, injury to its reputation, and diminution in the value of its

intellectual property.

       143.    Defendants have unjustly gained revenue and profits by virtue of its wrongful acts
that it otherwise would not have obtained and to which it is not entitled.

       144.    Plaintiff has also been injured and will continue to incur attorneys’ fees and costs

in bringing the present action.

       145.    Plaintiff has no adequate remedy at law for the wrongful actions of Defendants.

                             COUNT X
   ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                           (815 ILCS 505)



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       146.    Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if fully set forth herein.

       147.    On information and belief, Defendants’ acts of creating and disseminating the

Infringing Ads, and creating and operating Imposter Twitter Accounts, as described herein, and

using the Counterfeit SHEIN Marks with those accounts to trick consumers into buying products

from Defendants or downloading Defendants’ mobile application, have been made with the intent

of causing a likelihood of confusion, or of a misunderstanding as to the source, ownership and/or

association with SHEIN-branded goods and services.
       148.    Defendants knew, or in the exercise of reasonable care should have known, that the

posts on its Imposter Twitter Accounts relating to its association with Plaintiff were false and/or

misleading.

       149.    Defendants’ acts constitute a violation of Illinois’ Uniform Deceptive Trade

Practices Act, 815 ILCS 510.

       150.    On information and belief, Defendants have willfully engaged in the deceptive

trade practices complained of herein.

       151.    Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause great and irreparable injury to Plaintiff.

       152.    Defendants’ aforesaid acts have also caused injury to consumers.

       153.    Defendants’ statutory violations and other wrongful acts have injured and threaten

to continue to injure Plaintiff, including loss of customers, dilution of goodwill, confusion of
existing and potential customers, injury to its reputation, and diminution in the value of its

intellectual property.

       154.    Defendants have unjustly gained revenue and profits by virtue of its wrongful acts

that they otherwise would not have obtained and to which they are not entitled.

       155.    Plaintiff has also been injured and will continue to incur attorneys’ fees and costs

in bringing the present action.

       156.    Plaintiff has no adequate remedy at law for the wrongful actions of Defendants.


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                                            COUNT XI
                                       UNFAIR COMPETITION
                                     (ILLINOIS COMMON LAW)

        157.   Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if set forth herein.

        158.   Defendants have unfairly and intentionally used the SHEIN Marks to misrepresent

its online retail services as originating from or having the sponsorship, affiliation, or approval of
Plaintiff.

        159.   Defendants have engaged in such unfair and improper conduct to trade off of, and

benefit from, the reputation and goodwill in the SHEIN Marks.

        160.   Defendants have derived, and continues to derive, unfair and illicit profits by

trading off of the respective reputation and goodwill of the SHEIN Marks.

        161.   Through its use of the Counterfeit SHEIN Marks, Defendants have unfairly caused

prospective and actual customers of the SHEIN Website and/or SHEIN Mobile App to be confused

as to whether Defendants is associated with the SHEIN brand. As a result, Plaintiff has lost sales

and profits. Defendants have also harmed the SHEIN brand, goodwill, and reputation.

        162.   The acts described above constitute unfair competition under Illinois common law.

        163.   Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause substantial and irreparable injury to Plaintiff.

        164.   Plaintiff has no adequate remedy at law.

        165.   Defendants’ conduct was oppressive, fraudulent, and malicious, entitling Plaintiff

to an award of punitive damages.

                                       COUNT XII
                        PRODUCT DISPARAGEMENT AND TRADE LIBEL
                                (ILLINOIS COMMON LAW)

        166.   Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if set forth herein.




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       167.    Defendants have contracted with and induced influencers to publish false and

misleading representations of fact that have disparaged the goods and services offered by Plaintiff,

as well as the overall reputation of Plaintiff’s business.

       168.    The Influencer Statements made by Defendants to influencers and made, on

information and belief, by influencers to their followers, as induced by Defendants, were directed

at the quality of products sold under the SHEIN brand.

       169.    The acts described above, constitute product disparagement and trade libel under

this State’s common law.
       170.    Defendants’ aforesaid acts have caused actual and special damages.

                                            COUNT XIII
                                       UNJUST ENRICHMENT
                                     (ILLINOIS COMMON LAW)

       171.    Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs as if set forth herein.

       172.    Plaintiff has invested substantial time, resources, and money developing, growing,

and promoting the SHEIN Marks and the respective goodwill and reputation associated therewith.

       173.    Defendants have unfairly and intentionally used the SHEIN Marks to deceive

consumers into downloading its mobile application, which directly competes with the SHEIN

Website and SHEIN Mobile App.

       174.    Defendants have engaged in such unfair and improper conduct in order to trade off

of, and benefit from, Plaintiff’s reputation and goodwill in the SHEIN Marks.

       175.    Defendants have derived, and continue to derive, unfair and illicit profits by trading

off of the respective reputation and goodwill of the SHEIN Marks.

       176.    By trading off of and using Plaintiff’s SHEIN Marks and the respective goodwill

and reputation associated therewith to lure customers away from Plaintiff for Defendants’ benefit,

Defendants have been unjustly enriched.




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       177.    It would be unjust for Defendants to be permitted to retain the illicit profits they

earned through the sales they made from the downloads of the Temu application that originated

from consumers viewing posts created by the Imposter Twitter Accounts.

       178.    The acts described above constitute unjust enrichment under Illinois common law.

       179.    Defendants’ aforesaid acts have caused and, unless such acts are restrained by this

Court, will continue to cause substantial and irreparable injury to Plaintiff.

       180.    Plaintiff has no adequate remedy at law.

                                     PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1.      That Defendants and their respective agents, servants, employees, attorneys,

               successors, and assigns, and any and all persons acting in concert or participating

               with them, or any of their successors or assigns, be preliminarily and permanently

               enjoined and restrained from directly or indirectly:

               a.      using the SHEIN Marks, or any reproduction, counterfeit, copy, or colorable

                       imitation of said marks, in connection with any manner likely to cause other

                       to believes that Defendants’ goods and services are connected with Plaintiff

                       or the SHEIN brand;

               b.      making any false or misleading statements regarding Plaintiff or SHEIN-

                       branded goods and services, or the relationship between Plaintiff or its

                       affiliates and Defendants;

               c.      engaging in deceptive trade practices;

               d.      engaging in consumer fraud and deceptive trade practices;

               e.      infringing the SHEIN Registered Copyrights; and

               f.      assisting, aiding, or abetting any other person or business entity in engaging

                       in or performing any of the activities referred to in the above subparagraphs

                       (a) through (e).




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   2.    That this Court find that Defendants have unlawfully, and without authorization,

         infringed upon and counterfeited the SHEIN Marks, committed false designation

         of origin, engaged in unfair competition, false advertising, dilution and contributory

         false advertising, all in violation of the Lanham Act, 15 U.S.C. § 1125, et seq.

   3.    That this Court find that Defendants have unlawfully, and without authorization,

         infringed the material in the SHEIN Registered Copyrights, i.e., U.S. Copyright

         Registration Nos., VA0002320444, VA0002320442, VA0002320439, and

         VA0002325368.
   4.    That this Court find that Defendants engaged in unfair competition in violation of

         the common law of the State of Illinois.

   5.    That this Court find that Defendants engaged in trademark dilution under the

         Illinois Trademark Registration and Protection Act, formerly the Anti-Dilution Act,

         765 ILCS 1036/65.

   6.    That this Court find that Defendants are in violation of the Illinois Uniform

         Deceptive Trade Practices Act, 815 ILCS 510/1 et seq.

   7.    That this Court find that Defendants are in violation of the Illinois Consumer Fraud

         and Deceptive Business Practices Act, 815 ILCS 505/1 et seq.

   8.    That this Court find that Defendants engaged in product disparagement and trade

         libel in violation of the common law of the State of Illinois.

   9.    That this Court find that Defendants have been unjustly enriched.
   10.   That Defendants be required to account to Plaintiff for Defendants’ profits from the

         sale of products or downloads of the Temu application and subsequent sales of

         products originating from the Imposter Twitter Accounts, the Influencer

         Statements, the Infringing Ads, or any other advertisement in which Defendants

         unlawfully used the SHEIN Marks or Roadget’s brands.

   11.   That this case be found exceptional and Plaintiff awarded its attorney’s fees

         pursuant to 15 U.S.C. § 1117(a).


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      12.     That Plaintiff be awarded damages arising out of Defendants’ wrongful acts in a

              sum equal to three times the actual damages suffered by Plaintiff, as provided in 15

              U.S.C. § 1117(b).

      13.     That Defendants be found to have intentionally used a counterfeit mark in

              connection with the sale, offering for sale, or distribution of goods or services and

              Plaintiff be awarded its attorney’s fees pursuant to 15 U.S.C. § 1117(b).

      14.     That Plaintiff be awarded statutory damages in lieu of actual damages, as provided

              in 15 U.S.C. § 1117(c).
      15.     That Defendants be required to disgorge its profits and other ill-gotten gains.

      16.     That an accounting be held and judgment rendered for damages sustained by

              Plaintiff on account of Defendants’ false designation of origin, trademark

              infringement, and unfair competition.

      17.     That, pursuant to 17 U.S.C. §§ 504, Plaintiff be awarded its actual damages for

              Defendants’ willful copyright infringement and any of Defendants’ profits

              attributable to the infringement.

      18.     That Plaintiff have and recover taxable costs of this action, including reasonable

              attorney’s fees and interest.

      19.     That Plaintiff be awarded punitive damages in view of Defendants’ wanton and

              deliberate illegal acts committed with oppression, fraud, or malice.

      20.     That Plaintiff be awarded such other and further relief as this Court deems just and
              proper.

                                         JURY DEMAND

      Plaintiff requests a trial by jury as to all issues triable to a jury.

                                              ROADGET BUSINESS PTE. LTD.


Dated: March 1, 2022                          By: /s/ Barry R. Horwitz

                                                    Barry R. Horwitz
                                                    Barry.Horwitz@gtlaw.com


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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the date set forth below, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system, which will send notification of such filings to all
counsel of record.


Dated: March 1, 2023                                    /s/ Barry R. Horwitz




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